Case 6:22-cv-02168-CEM-DCI Document 29 Filed 06/06/23 Page 1 of 1 PageID 122




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


JOSHWA PEREZ,

                    Plaintiff,

v.                                                Case No. 6:22-cv-2168-CEM-DCI

HEALTHCARE REVENUE
RECOVERY GROUP, LLC,

                    Defendant.
                                     /

                                    ORDER
      THIS CAUSE is before the Court on the Joint Stipulation of Dismissal

Without Prejudice as to Healthcare Revenue Recovery Group, LLC (Doc. 28).

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Clerk of Court is

directed to close this case.

      DONE and ORDERED in Orlando, Florida on June 6, 2023.




Copies furnished to:

Counsel of Record



                                    Page 1 of 1
